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EXHIBIT “A”

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
DEBORAH D. PETERSON, )
Personal Representative of the )
Estate of James C. Knipple (Dec.), ef al, )
)
Plaintiffs, )
) Consolidated Civil Actions:

Vv. ) 01-2094 (RCL)

) 01-2684 (RCL)
)
ISLAMIC REPUBLIC OF IRAN, e¢ al, )
)
Defendants. )
)

JUDGMENT

In accord with the Memorandum Opinion issued this date, it is hereby
ORDERED that Default Judgment be entered in favor of plaintiffs and against
defendants, jointly and severally, in the amount of $2,656,944,877.00, which shall be allocated

in the following manner:

l. Wrongful Death Claims Brought by the Personal Representatives and Estates of

Deceased Servicemen
Abbott, Terry $1,485 ,243.00
Allman, John Robert $545,937.00
Bates, Ronny Kent $2,991 659.00
Baynard, James $626,517.00
Beamon, Jess W. $988,897.00
Belmer, Alvin Burton $8,384,746.00
Blankenship, Richard D. $1,421,889.00
Blocker, John W. $975,621.60
Boccia, Joseph John Jr. $1,276,641.00
Bohannon, Leon $706,549.00

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Bonk, John Jr.
Boulos, Jeffrey Joseph
Boyett, John Norman
Burley, William
Callahan, Paul
Camara, Mecot
Campus, Bradley
Ceasar, Johnnie
Conley, Robert Allen
Cook, Charles Dennis
Copeland, Johnny Len
Cosner, David
Coulman, Kevin
Crudale, Rick

Cyzick, Russell
Devlin, Michael
Dorsey, Nathaniel
Dunnigan, Timothy
Earle, Bryan

Estes, Danny R.
Fluegel, Richard Andrew
Fulcher, Michael D.
Gallagher, Sean
Gangur, George
Garcia, Randall
Ghumm, Harold
Giblin, Timothy
Gorchinski, Michael
Gordon, Richard
Green, Davin M.
Hairston, Thomas
Haskell, Michael
Helms, Mark Anthony
Hester, Stanley G.
Hildreth, Donald Wayne
Holberton, Richard
Hudson, Dr. John
Hukill, Maurice Edward
Jacovino, Edward Jr.
Innocenzi, Paul Ill
Jackowski, James
James, Jeffrey Wilbur
Jenkins, Nathaniel Walter

$904,220.00
$1,154,112.00
$2,235,375.00
$170,847.00
$974,546.00
$1,882,308.00
$433,959.00
$313,593.00
$962,677.00
$837,147.00
$541,325.00
$1,105,668.00
$1,287,092.00
$1,004,731.00
$575,554.00
$939,887.00
$638,703.00
$709,232.00
$1,286,372.00
$1,000,157.00
$1,089,811.00
$1,257,150.00
$674,382.00
$1,000,935.00
$1,127,694.00
$1 ,260,508.00
$1,301,526.00
$1,931,668.00
$965,609.00
$1,025,050.00
$1,489,395.00
$2,871,058.00
$1,028,509.00
$1,493,349.00
$1,425,177.00

$1,818,176.00 —

$4,072,010.00
$3,038,258.00
$407,196.00
$1,715,253.00
$463,355.00
$251,607.00
$7,599,314

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Johnston, Edward Anthony
Jones, Steven

Julian, Thomas Adrian
Keown, Thomas

Kluck, Daniel

Knipple, James C.
Kreischer, Freas H. Lil
Laise, Keith

Langon, James IV
LaRiviere, Michael Scott
LaRiviere, Steven
Lemnah, Richard
Livingston, Joseph R. ("Joel") Hl
Lyon, Paul D. Jr.
Macrogtiou, John
Maitland, Samuel Jr.
Martin, Charlie Robert
Massa, David

McCall, John
McDonough, James E.
McMahon, Timothy R.
Menkins, Richard Il
Meurer, Ronald
Milano, Joseph Peter -
Moore, Joseph.

Myers, Harry Douglas
Naim, David

Olson, John Ame
Owens, Joseph Albert
Page, Connie Ray
Parker, Ulysses Gregory
Pearson, John L.
Perron, Thomas S.
Phillips, John Arthur Jr.
Pollard, William Roy
Prevatt, Victor Mark
Price, James
Prindeville, Patrick Kerry
Quirante, Diomedes J.
Richardson, Warren
Rotondo, Louis J.
Sauls, Michael Caleb
Schnorf, Charles Jeffrey

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$1,246,535.00
$801,721.00
$415,311.00
$1,013,901.00
$922,630.00
$1,018,665.00
$1,059,185.00
$447,984.00
$1,066,903.00
$1,056,282.00
$986,622.00
$1,842,869.00
$1,762,193.00
$1,034,459.00
$2,183,935.00
$970,700.00
$1,316,085.00
$674,558.00
$853,420.00
$952,847.00
$984,020.00
$850,938.00
$1,855,272.00
$674,258.00
$980,150.00
$891,144.00
$1,562,682.00
$1,010,497.00
$502,237.00
$1,012,211.00
$641,523.00
$1,816,369.00
$424,110.00
$1,030,308.00
$1,111,556.00
$862,635.00"
$989,921.00
$305,675.00
$2,178,822.00
$796,673.00
$2,276,348.00
$974,601.00
$2,790,541.00

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Schultz, Scott Lee
Scialabba, Peter

Scott, Gary Randall
Shipp, Thomas Alan
Shropshire, Jerryl
Simpson, Larry H. Jr.
Smith, Kirk Hall

Smith, Thomas Gerard
Smith, Vincent
Sommerhof, William Scott
Spencer, Stephen Eugene
Stelpflug, William
Stephens, Horace Renardo Jr. ("Ricky")
Stockton, Craig

Stokes, Jeffrey

Sturghill, Eric D.

Sundar, Devon

Thorstad, Thomas Paul
Tingley, Stephen

Vallone, Donald H. Jr.
Washington, Eric Glenn
Wigglesworth, Dwayne
Williams, Rodney J.
Williams, Scipio Jr.
Williamson, Johnny Adam
Winter, William Ellis
Woollett, Donald Elberan
Wyche, Craig

Young, Jeffrey D.

$675,361.00
$2,462,179.00
$432,024.00
$738,895.00
$212,061.00
$5,995,660.00
$710,042.00
$980,543.00
$1,285,915.00
$1,361 ,062.00
$974,298.00
$1,094,429.00
$446,107.00
$1,007,526.00
$1,599,994.00
$725,378.00
$1,394,608.00
$1,921,086.00
$1,439,655.00
$462,193.00
$1,069,270.00
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$671,206.00
$1,635,994.00
$443,409.00
$2,534,910.00
$2,021,565.00
$1,025,860.00
$618,891.00

2. Battery Claims Brought by Injured Servicemen

Albright, Marvin
Arroyo, Pablo

Banks, Anthony
Bumette, Rodney Darrell
Comes, Frank Jr.
Dolphin, Glenn

Eaves, Frederick Daniel
Frye, Charles

Garner, Truman Dale
Gerlach, Larry
Hlywiak, John

$5,000,000.00
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$7,500,000.00
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Hunt, Orval

Jacobs, Joseph P.
Kirkpatrick, Brian
Matthews, Burnham
Mitchell, Timothy
Moore, Lovelle "Darrell"
Nashton, Jeffrey
Oliver, John

Rivers, Paul

Russell, Stephen
Spaulding, Dana
Swinson, Craig Joseph
Toma, Michael
Wheeler, Danny
Young, Thomas D.

3. Claims Brought by Family Members of Deceased Servicemen

Abbey, Lilla Woollett
Abbott, James

Abbott, Mary (Estate of)
Adams, Elizabeth

Ahiquist, Eileen Prindeville
Alarcon, Miralda (Judith Maitland)
Allman, Anne

Allman, Robert

Allman, Theodore (Estate of)
Allman, DiAnne Margaret ("Maggie")
Alvarez, Margaret E.

Angus, Kimberly F.

Bates, Donnie

Bates, Johnny

Bates, Laura

Bates, Margie

Bates, Monty

Bates, Thomas Jr.

Bates, Thomas C., Sr.
Baumgartner, Mary E.
Baynard, Anthony

Baynard, Barry

Baynard, Emerson

Baynard, Philip

Baynard, Thomasine

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$8,314,513.00
$11,776,632.00
$3,277,542.00
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$9,252,749.00

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Case 1:01-cv-02094-RCL Document 228

Baynard, Timothy
Baynard, Wayne
Baynard, Stephen
Beard, Anna

Beck, Mary Ann
Belmer, Alue

Belmer, Annette
Belmer, Clarence
Belmer, Colby Keith
Belmer, Denise
Belmer, Donna
Belmer, Faye

Belmer, Kenneth
Belmer, Luddie
Biellow, Shawn

Black, Mary Frances
Blankenship, Donald Jr.
Blankenship, Donald Sr.
Blankenship, Mary (Estate of)
Blocker, Alice

Blocker, Douglas
Blocker, John R.
Blocker, Robert
Boccia, James

Boccia, Joseph Sr.
Boccia, Patricia
Boccia, Raymond
Boccia, Richard
Boccia, Ronnie (Veronica)
Boddie, Leticia
Bohannon, Angela
Bohannon, Anthony
Bohannon, Carrie
Bohannon, David
Bohannon, Edna
Bohannon, Leon Sr.
Bohannon, Ricki
Bolinger, Billie Jean
Boulos, Joseph

Boulos, Lydia

Boulos, Marie

Bowler, Rebecca
Boyett, Lavon

Boyett, Norman E. Jr. (Estate of)

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Boyett, Theresa U. Roth
Boyett, William A.
Breeden, Susan Schnorf
Briscoe, Damion
Brown, Christine
Brunette, Rosanne
Buckner, Mary Lynn

Burley, Claude (Estate of)
Burley, William Douglas (Estate of)

Burley, Myra
Calabro, Kathleen
Caldera, Rachel
Callahan, Avenell
Callahan, Michael

Calloway, Patricia (Patsy Ann)

Camara, Elisa Rock
Camara, Theresa Riggs
Campbell, Candace
Campus, Clare
Capobianco, Elaine
Carter, Florene Martin
Cash, Phyllis A.
Catano, Theresa
Ceasar, Bruce

Ceasar, Franklin
Ceasar, Fredrick
Ceasar, Robbie Nell
Ceasar, Sybil

Cecca, Christine Devlin
Chapman, Tammy
Cherry, James

Cherry, Sonia

Chios, Adele H.
Christian, Jana M.
Christian, Sharon Rose
Ciupaska, Susan
Clark, LeShune Stokes
Clark, Rosemary
Cobble, Mary Ann
Collard, Karen Shipp
Collier, Jennifer
Collier, Melia Winter
Coltrane, Deborah M.
Conley, James N. Jr.

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Conley, Roberta Li
Cook, Charles F.
Cook, Elizabeth A.
Cook, Mary A. (Estate of)
Copeland, Alan Tracy
Copeland, Betty
Copeland, Donald
Corry, Blanche
Cosner, Harold
Cosner, Jeffrey
Cosner, Leanna

Cosner, Marva Lynn (Estate of)

Cossaboom, Cheryl
Coulman, Bryan Thomas
Coulman, Christopher J.
Coulman, Dennis P.
Coulman, Lorraine M.
Coulman, Robert D.
Coulman, Robert Louis
Covington, Charlita Martin
Crouch, Amanda
Crudale, Marie

Cyzick, Eugene
Dallachie, Lynn

Deal, Anne

Derbyshire, Lynn Smith
Desjardins, Theresa
Devlin, Christine
Devlin, Daniel

Devlin, Gabrielle
Devlin, Richard

Devlin, Sean

Donahue (Milano), Rosalie
Doray, Ashley

Doss, Rebecca
Dunnigan, Chester
Dunnigan, Elizabeth Ann
Dunnigan, Michael
Dunnigan, William
Dunnigan, Claudine
Edquist, Janice Thorstad
Ervin, Mary Ruth

Estes, Barbara

Estes, Charles

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Estes, Frank

Fansler, Lori

Farthing, Angela Dawn
Ferguson, Arlington
Ferguson, Hilton

Fish, Linda Sandback
Fox, Nancy Brocksbank
Fox, Tia

Freshour, Tammy
Fulcher, Ruby
Gallagher, Barbara
Gallagher, Bnan
Gallagher, James (Estate of)
Gallagher, James Jr.
Gallagher, Kevin
Gallagher, Michael
Gangur, Dimitri __
Gangur, Mary

Garcia, Jess

Garcia, Ronald
Garcia, Roxanne
Garcia, Russell
Garcia, Violet

Garza, Suzanne Perron
Gattegno, Jeanne
Ghumm, Arlene
Ghumm, Ashley
Ghumm, Bill
Ghumm, Edward
Ghumm, Hildegard
Ghumm, Jedaiah (Estate of)
Ghumm, Jesse
Ghumm, Leroy
Ghumm, Moronica
Giblin, Donald
Giblin, Jeanne

Giblin, Michael
Giblin, Tiffany
Giblin, Valerie
Giblin, Wilham
Gilford-Smith, Thad
Gintonio, Rebecca
Goff, Dawn
Gorchinski, Christina

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Gorchinski, Judy
Gorchinski, Kevin
Gorchinski, Valerie
Gordon, Alice

Gordon, Joseph
Gordon, Linda

Gordon, Norris (Estate of)
Gordon, Paul

Grant, Andrea

Graves, Deborah

Green, Deborah

Gregg, Liberty Quirante
Griffin, Alex

Gnimsley, Catherine E.
Gummer, Megan

Guz, Lyda Woollett
Hairston, Darlene
Hanrahan, Tara

Hart, Mary Clyde
Haskill, Brenda
Haskell, Jeffrey

Hedge, Kathleen S.
Helms, Christopher Todd
Helms, Marvin R.
Hester, Doris

Hildreth, Clifton
Hildreth, Julia

Hildreth, Mary Ann
Hildreth, Michael Wayne
Hulton, Sharon A.
Holberton, Donald
Holberton, Patricia Lee
Holberton, Thomas
Hollifield, Tangie
Homer, Debra

House, Elizabeth
Houston, Joyce A.
Howell, Tammy Camara
Hudson, Lisa H.
Hudson, Lorenzo
Hudson, Lucy

Hudson, Ruth

Hudson, Samuel (Estate of)
Hudson, William J.

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Case 3:08-mc-80030-JSW Document 26-4 Filed 05/01/08 Page 12 of 25
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Hugis, Susan Thorstad (Estate of) $2,500,000.00
Hurlburt, Nancy Tingley $2,500,000.00
Hurston, Cynthia Perron $2,500,000.00
facovino, Edward Sr. (Estate of) $5,000,000.00
lacovino, Elizabeth $5,000,000.00
Innocenzi, Deborah $8,000,000.00
Innocenzi, Knstin $5,000,000.00
Innocenzi, Mark $2,500,000.00
Innocenzi, Paul IV $5,000,000.00
Jaccom, Bernadette $2,500,000.00
Jackowski, John Jr. $2,500,000.00
Jackowski, John Sr. $5,000,000.00
Jacobus, Victoria $2,500,000.00
James, Elaine $5,000,000.00
Jenkins, Nathalie C. $5,000,000.00
Jenkins, Stephen $2,500,000.00
Jewett, Rebecca $2,500,000.00
Johnson, Linda Martin $2,500,000.00
Johnson, Ray $2,500,000.00
Johnson, Rennitta Stokes ~ $2,500,000.00
Johnson, Sherry $5,000,000.00
Johnston, Charles $2,500,000.00
Johnston, Edwin $5,000,000.00
Johnston, Mary Ann $5,000,000.00
Johnston, Zandra LaRiviere $2,500,000.00
Jones, Alicia $2,500,000.00
Jones, Corene Martin $2,500,000.00
Jones, Kia Briscoe $2,500,000.00
Jones, Mark $2,500,000.00
Jones, Ollie $5,000,000.00
Jones, Sandra D. $5,000,000.00
Jones, Synovure (Estate of) $2,500,000.00
Jordan, Robin Copeland $2,500,000.00
Jordan, Susan Scott $2,500,000.00
Julian, Joyce $5,000,000.00
Julian, Karl $5,000,000.00
Jurist, Nada $2,500,000.00
Keown, Adam $2,500,000.00
Keown, Bobby Jr. $2,500,000.00
Keown, Bobby Sr. $5,000,000.00
Keown, Darren $2,500,000.00
Keown, William $2,500,000.00
Kirker, Mary Joe $2,500,000.00
Kluck, Kelly $2,500,000.00

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Case 1:01-cv-02094-RCL Document.228

Kluck, Michael
Knipple, John D. (Estate of)
Knipple, John R.

Knipple, Pauline (Estate of)
Knox, Shirley L.

Kreischer, Doreen
Kreischer, Freas H. Jr.
Lake, Cynthia D.

Lange, Wendy L.

Langon, James Ill
LaRiviere, Eugene
LaRiviere, Janet
LaRiviere, John M.
LaRiviere, Lesley
LaRiviere, Michael
LaRiviere, Nancy
LaRiviere, Richard
LaRiviere, Richard G. (Estate of)
LaRiviere, Robert
LaRiviere, William
Lawton, Cathy L.

LeGault, Heidi Crudale
Lemnah, Clarence (Estate of)
Lemnah, Etta

Lemnah, Fay

Lemnah, Harold

Lemnah, Marlys

Lemnah, Robert

Lemnah, Ronald
Livingston, Annette R.
Livingston, Joseph R. IV
Livingston, Joseph R. Jr. (Estate of)
Lynch, Robin M.

Lyon, Earl

Lyon, Francisco

Lyon, June

Lyon, Maria

Lyon, Paul D. Sr.

Lyon, Valerie

Macroglou, Heather
Mahoney, Kathleen Devlin
Maitland, Kenty

Maitland, Leysnal
Maitland, Samuel Sr.

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Maitland, Shirla

Marshall, Virginia Boccia

Martin, John
Martin, Pacita
Martin, Renerio
Martin, Ruby
Martin, Shirley
Mason, Mary
Massa, Cristina
Massa, Edmund
Massa, Joao ("John")
Massa, Jose ("Joe")
Massa, Manuel Jr.
Massa, Ramiro
McCall, Mary

McCall, Thomas (Estate of)

McCall, Valerie
McDermott, Gail
McFarlin, Julia A.
McMahon, George
McMahon, Michael
McPhee, Patty
Menkins, Darren
Menkins, Gregory
Menkins, Margaret
Menkins, Richard H.
Meurer, Jay T.
Meurer, John
Meurer, John Thomas
Meurer, Mary Lou
Meurer, Michael
Meyer, Penny
Milano, Angela
Milano, Peter Jr.
Miller, Earline
Miller, Henry
Miller, Patricia
Montgomery, Helen
Moore, Betty
Moore, Harry
Moore, Kimberly
Moore, Mary
Moore, Melissa Lea

Moore, Michael (Estate of)

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Moy, Elizabeth Phillips
Myers, Debra

Myers, Geneva

Myers, Harry A.

Naim, Billie Ann
Naim, Campbell J. Ti
Naim, Campbell J. Jr. (Estate of)
Naim, William P.
Norfleet, Richard
O'Connor, Deborah
Olaniji, Pearl

Olson, Bertha (Estate of)
Olson, Karen L.

Olson, Randal D.
Olson, Roger S.

Olson, Ronald J.

Olson, Sigurd (Estate of)
Owens, David

Owens, Deanna

Owens, Frances

Owens, James (Estate of)
Owens, Steven

Page, Connie Mack
Page, Judith K.

Palmer, Lisa Menkins
Paolozzi, Geraldine
Pare, Maureen

Parker, Henry James
Parker, Sharon

Pearson, Helen M.
Pearson, John L. Jr.
Pearson, Sonia

Perron, Brett

Perron, Deborah Jean
Perron, Michelle
Perron, Ronald R.
Persky, Muriel
Peterson, Deborah D.
Petry, Sharon Conley
Petrick, Sandra

Phelps, Donna Vallone
Phillips, Harold
Phillips, John Arthur Sr.
Plickys, Donna Tingley

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Pollard, Margaret Aileen
Pollard, Stacey Yvonne
Prevatt, Lee Hollan
Prevatt, Victor Thornton
Price, John

Price, Joseph

Prindeville, Barbara D. (Estate of)

Prindeville, Kathleen Tara
Prindeville, Michael
Prindeville, Paul
Prindeville, Sean
Quirante, Belinda J.
Quirante, Edgar

Quirante, Godofredo (Estate of)

Quirante, Milton
Quirante, Sabrina

Ray, Susan

Reininger, Laura M.
Richardson, Alan
Richardson, Beatrice
Richardson, Clarence
Richardson, Eric
Richardson, Lynette
Richardson, Vanessa
Richardson-Mills, Philiece
Ricks, Melrose

Riva, Belinda Quirante
Rockwell, Barbara
Rooney, Linda

Rose, Tara Smith

Ruark, Tammi
Rudkowski, Juliana
Russell, Marie McMahon
Sanchez, Alicia Lynn
Sauls, Andrew

Sauls, Henry Caleb

Sauls, Riley A.

Schnorf, Margaret Medler
Schnorf, Richard (brother)
Schnorf, Richard (father)
Schnorf, Robert

Schultz, Beverly

_ Schultz, Dennis James
Schultz, Dennis Ray

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Scialabba, Frank
Scialabba, Jacqueline
Scialabba, Samuel Scott
Scott, Jon Christopher
Scott, Kevin James
Scott, Larry L. (Estate of)
Scott, Mary Ann

Scott, Sheria

Scott, Stephen Allen
Seguerra, Jacklyn
Shipp, Bryan Richard
Shipp, James David
Shipp, Janice

Shipp, Maurice

Shipp, Pauline

Shipp, Raymond Dennis
Shipp, Russell

Sinsioco, Susan J.
Smith-Ward, Ana
Smith, Angela Josephine (Estate of)
Smith, Bobbie Ann
Smith, Cynthia

Smith, Donna Marie
Smith, Erma

Smith, Holly

Smith, Ian

Smith, Janet

Smith, Joseph K. Tl
Smith, Joseph K. Jr.
Smith, Keith

Smith, Kelly B.

Smith, Shirley L.
Smith, Tadgh

Smith, Terrence

Smith, Timothy B.
Sommerhof, Jocelyn J.
Sommerhof, John
Sommerhof, William J.
Spencer, Douglas
Stelpflug, Christy Williford
Stelpflug, Joseph
Stelpflug, Kathy Nathan
Stelpflug, Laura Barfield
Stelpflug, Peggy

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Case 1:01-cv-02094-RCL Document 228

Stelpflug, William
Stephens, Horace Sr.
Stephens, Joyce

Stephens, Keith

Stockton, Dona

Stockton, Donald (Estate of)
Stockton, Richard

Stokes, Irene

Stokes, Nelson Jr.

Stokes, Nelson Sr. (Estate of)

Stokes, Robert
Stokes-Graham, Gwenn
Sturghill, Marcus D.
Sturghill, Marcus L. Jr.
Sturghill, NaKeisha Lynn
Sundar, Doreen

Tella, Margaret
Terlson, Susan L.
Thompson, Mary Ellen
Thorstad, Adam
Thorstad, Barbara
Thorstad, James Jr.
Thorstad, James Sr.
Thorstad, John
Thorstad, Ryan
Thurman, Betty Ann
Tingley, Barbara
Tingley, Richard L.
Tingley, Russell
Tolliver, Keysha
Turek, Mary Ann
Valenti, Karen
Vallone, Anthony
Vallone, Donald H.
Vallone, Timothy
Vargas, Leona Mae
Voyles, Denise
Wallace, Ha

Wallace, Kathryn Thorstad
Wallace, Richard J.
Warwick, Barbara Thorstad
Washington, Linda
Washington, Vancine
Watson, Kenneth

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Whitener, Diane
Wigglesworth, Daryl
Wigglesworth, Darrin A.
Wigglesworth, Henry
Wigglesworth, Mark
Wigglesworth, Robyn
Wigglesworth, Sandra
Wigglesworth, Shawn
Williams, Dianne Stokes
Williams, Gussie Martin
Williams, Janet
Williams, Johnny
Williams, Rhonda
Williams, Ronald
Williams, Ruth
Williams, Scipio J.
Williams, Wesley
Williams-Edwards, Delma
Williamson, Tony
Williamson, Jewelene
Winter, Michael
Wiseman, Barbara
Woodford, Phyllis
Woodle, Joyce
Woollett, Beverly
Woollett, Paul

Wright, Melvina Stokes
Wnight, Patricia

Wyche, Glenn

Wyche, John

Young, John F.

Young, John W.

Young, Judith Carol
Young, Sandra Rhodes
Zimmennan, Joanne
Zone, Stephen Thomas
Zosso, Patricia Thorstad

4. Claims Brought by Family Members of Injured Servicemen

Ali, Jamaal Muata
Angeloni, Margaret
Arroyo, Jesus
Arroyo, Milagros

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Case 3:08-mc-80030-JSW Document 26-4 Filed 05/01/08 Page 20 of 25
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Carletta, Olympia
Carpenter, Kimberly
Comes, Joan

Comes, Patrick
Comes, Christopher
Comes, Frank Sr.
Crawford, Deborah
Davis, Barbara
Franklin, Alice Warren
. Gerlach, Patricia
Gerlach, Travis
Gerlach, Megan
Hemandez, Arminda
Hlywiak, Margaret
Hlywiak, Peter Jr.
Hlywiak, Peter Sr.
Hlywiak, Paul
Hlywiak, Joseph

Hunt, Cynthia Lou
Ibarro, Rosa

Jacobs, Andrew Scott
Jacobs, Daniel Joseph
Jacobs, Danita
Kirkpatrick, Kathleen
Lewis, Grace
Magnotti, Lisa
Mitchell, Wendy
Moore, James Otis (Estate of)
Moore, Johnney S. (Estate of)
Moore, Marvin 8S.
Moore, Alie Mae
Moore-Jones, Jonnie Mae
Nashton, Alex W. (Estate of)
Oliver, Paul

Oliver, Riley

Oliver, Michael John
Oliver, Ashley E.
Oliver, Patrick S.
Oliver, Kayley
Russell, Tanya
Russell, Wanda
Russell, Jason

Shaver, Clydia
Spaulding, Scott

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Case 1:01-cv-02094-RCL Document 228 Filed 09/07/2007 Page 20 of 24

Stanley, Cecilia $2,500,000.00
Stilpen, Mary $1,250,000.00
Swank, Kelly $1,250,000.00
Swinson, Kenneth J. (Estate of) $2,500,000.00
Swinson, Ingrid M. (Estate of) $2,500,000.00
Swinson, Daniel $1,250,000.00
Swinson, William $1,250,000.00
Swinson, Dawn $1,250,000.00
Swinson, Teresa $1,250,000.00
Warren, Bronzell $1,250,000.00
Watson, Jessica $1,250,000.00
Webb, Audrey $1,250,000.00
Wheeler, Jonathan $2,500,000.00
Wheeler, Benjamin $2,500,000.00
Wheeler, Marlis "Molly" (Estate of) $2,500,000.00
Wheeler, Kerry . $1,250,000.00
Wheeler, Andrew $2,500,000.00
Wheeler, Brenda June $4,000,000.00
Wold, Jill $1,250,000.00
Young, Nora (Estate of) $2,500,000.00
Young, James $1,250,000.00
Young, Robert (Estate of) $2,500,000.00

IT IS FURTHER ORDERED that the claims brought by the following plaintiffs are
hereby DISMISSED WITHOUT PREJUDICE:

Albright, Marvin Jr.
Albright, Mirequm
Albright, Shertara
Banks, Anthony (son)
Banks, Michael
Banks, Taiarra

Berry, Lon

Bumette, Christopher
Bumette, Gwen
Camara, Mecot Jr.
Comes, Dale

Comes, Tommy
Crop, Kimberly
Decker, Connie
Dolphin, Erin
Douglass, Frederick (Estate of)
Eaves, Christopher

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Eaves, India

Eaves, Sylvia Jean
Foister, Gerald

Frye, Charles Jr.

Frye, Gina

Frye, Lialani

Frye, Lincoln

Frye, Randall

Garner, Joseph

Garner, Justina
Gamer, Penny

Gamer, Reva
Goodman, Karl
Haskell, Barbara
Haskell, Richard
Hlywiak, Jordan
Hlywiak, Taylor

Hunt, Jack Darrell
Hunt, Marcy Elizabeth
Hunt, Mendy Leigh
Hunt, Molly Faye
Livingston, Carol
Massa, Manuel Sr. (Estate of)
Matthews, Chadwick
Matthews, Debra
Matthews, Drew
Meurer, Deborah
Miller, Shirley D.
Mitchell, Elvera
Mitchell, Robert

Price, Betty Lou (Estate of)
Price, Timothy

Rivers, Jeremy

Rivers, Paul (son)
Rivers, Sandra

Schak, Carol

Schak, George
Spencer, Lynne M.
Washington, Patrice
Williams, Kevin Coker
Williams, George Robinson
Williams, Dorothy (Estate of)
Williamson, Bill

Wise, Debra

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Woodcock, Gwen

IT IS FURTHER ORDERED that the claims brought by the following plaintiffs are
hereby DISMISSED WITH PREJUDICE:

Beamon, Ashley Tutwiler
Beresford, Michael
Beresford, Susan
Beresford, William
Bianco, Sandra Karen
Bianco, Sandra
Bonk, Catherine
Bonk, John Sr.
Bonk, Kevin
Bonk, Thomas
Calloway, Donald
Clark, Michael Jr.
Corry, Charles
DiGiovanni, Lisa
DiGiovanni, Marion
DiGiovanni, Robert
DiGiovanni, Danielle
Fiedler, Sherry Lynn
Fluegel, Robert
Fluegel, Thomas A.
Fluegel, Marilou
Green, Rebecca Iverson
Hairston, Evans
Hairston, Felicia
Hairston, Julia Bell
Hukill, Henry Durban
Hukill, Mark Andrew
Hukill, Matthew Scott
Hukill, Melissa
Hukill, Meredith Anne
Hukill, Mitchell Charles
Hukill, Monte
Hokill, Virginia Ellen
Jackowski, Mary
Jones, Storm
Joyce, Penni
Kirkwood, Car! Sr.
Kirkwood, Jeff

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Kirkwood, Shirley
Kirkwood, Carl Amold Jr.
Kronenbitter, Patricia

Laise, Kris

Laise, Bill

Laise, Betty

Lewis, Natalie

Macroglou, James
Macroglou, Lorraine
Macroglou, Bill

Mason, Richard

McDonald, Kathy
McDonough, Edward W.
McDonough, Sean
McDonough, Edward Joseph
Morgan, Geraldine

Nashton, Pamela J.

Persky, Herbert
Phelps, Charles Jr.

Phelps, Charles Sr.
Prevatt-Wood, Victoria
Rhosto, Deborah Spencer
Rochwell, Natalie
Rockwell, Donald

Rotondo, Rose (Estate of)
Rotondo, Luis (Estate of) (father)
Santoserre, Phyllis (Estate of)
Simpson, Robert

Simpson, Renee Eileen
Simpson, Larry H. Sr.
Simpson, Anna Marie »
Vallone, Donna Beresford
Wallace, Bobby L.

Watkins, Lula Mae (Estate of)
Watkins, Simon

Wirick, Sally Jo

IT IS FURTHER ORDERED that plaintiffs, at their own cost and consistent with the

requirements of 28 U.S.C. § 1608(e), send a copy of this Judgment and the Findings of Fact and

Conclusions of Law issued this date to defendants.
IT IS FURTHER ORDERED that the Clerk of this Court shall terminate this case from

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the dockets of this Court.

SO ORDERED.

Signed by Royce C. Lamberth, United States District Judge, September 7, 2007.
